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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION


              UNITED STATES OF AMERICA
                                                            CRIMINAL CASE NO.
              v.                                            1:14-CR-00459-LMM-JFK
              TEON RICHARDSON,
                                   Defendant.


                                  REPORT AND RECOMMENDATION

                   Pending before the court is Defendant Teon Richardson’s motion [Doc. 13] to

             suppress evidence, that is, a firearm and ammunition seized on March 7, 2014, from

             a jacket he had been wearing and other items seized from the vehicle he had been

             driving. Defendant also filed a motion [Doc. 14] to suppress statements that he made

             on that date regarding a credit card skimmer found in the vehicle. An evidentiary

             hearing was held on the motions to suppress on August 27, 2015. [Doc. 34].1 The

             Government does not intend to introduce into evidence any items seized from the

             search of the vehicle, including a credit card skimmer and a cellular telephone, or any

             statements made by Defendant, including regarding that credit card skimmer, at trial.


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                    Citations to the evidentiary hearing are: (Tr. at ).


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             (Tr. at 15-16). Accordingly, because the motions to suppress Defendant’s statements

             and the items seized from the vehicle are moot, the court will not further address the

             statements or the seizure of the items from the vehicle.

                   Defendant is charged with being a felon in possession of the firearm seized on

             March 7, 2014. [Doc. 1]. Defendant contends that law enforcement officers who

             conducted the stop and detention and then seized the firearm lacked probable cause

             and exigent circumstances for the warrantless search of his jacket or a reasonable

             suspicion that Defendant posed a danger in order to conduct a pat down or frisk of

             Defendant and the jacket.      [Doc. 37].       The Government does not respond to

             Defendant’s arguments,2 instead, contends that the seizure of the firearm and

             ammunition was the result of a voluntary consent to search Defendant’s person. [Doc.

             39]. In reply, Defendant contends that he did not consent to a search of his person at

             all, only a search of his vehicle, and that the search of his person and the jacket

             exceeded the scope of the consent to search his vehicle. [Doc. 40]. Defendant does


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                    Although the Government makes a conclusory statement that the officer “had
             reasonable suspicion” presumably to conduct a pat down, no argument is presented
             supporting that statement establishing that the warrantless search was justified on this
             ground. [Doc. 39 at 2]. As noted infra, the Government bears the burden justifying
             a warrantless search, and it has failed to do so on this ground which will not be further
             addressed herein.

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             not further address whether, if the evidence establishes that he consented to a search

             of his person, that a search of the jacket fell within the scope of that consent. [Id.].

             I.      Background Facts

                     The following facts are pertinent to the issue of Defendant’s consent to search

             his person and the resulting seizure of the firearm from his jacket. On March 7, 2014,

             Atlanta Police Officers Williams and Kitchen were on patrol in a marked police

             vehicle and observed Defendant Teon Richardson operating a vehicle after dark

             without headlights.3 (Tr. at 3-5, 18, 30). Defendant was traveling northbound on

             Parkway Drive, and the officers were traveling southbound. The officers turned

             around to follow Defendant and activated their blue lights to conduct a traffic stop.

             (Tr. at 5-6, 16, 19). Defendant pulled into a hotel parking lot at 585 Parkway Drive,

             and the officers pulled up behind him. (Tr. at 6, 16). Defendant exited his vehicle,

             and Officer Williams exited the patrol vehicle and, for safety reasons, directed

             Defendant to get back into his vehicle. (Tr. at 6, 21). Defendant did not immediately

             comply but shouted out that “he knew why [the officer] was pulling him over, that his

             headlights weren’t working, and that he could fix them.” (Tr. at 7, 21-22). When the


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                    The officers did not observe any other violations regarding Defendant’s
             operation of the vehicle. (Tr. at 19).

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             officer instructed Defendant to get into the vehicle a second time, Defendant

             complied.4 (Tr. at 7, 23).

                   The officer, in uniform with his firearm holstered, approached the driver’s side

             door and spoke to Defendant through the open window asking for Defendant’s

             driver’s license. He detected the odor of alcohol and observed an open box of

             Mangoritas, an alcoholic beverage. (Tr. at 7-8, 25-27, 30). In reply to a question

             whether he had been drinking, Defendant stated that he had been drinking that night.

             (Tr. at 8). Defendant, although experiencing difficulty due to the fact that his hands

             were shaking, eventually found and provided his driver’s license.5 (Tr. at 8, 23-25).

             The officer asked if there was anything illegal in the vehicle, and Defendant stated no

             and that the officer “could search the vehicle.” (Tr. at 8-9, 27). The officer asked

             Defendant to exit the vehicle and to step to the rear of the vehicle. Defendant

             complied. (Tr. at 9-10, 28). As Defendant exited the vehicle, the officer observed an

             open can of Mangorita in the center console. (Tr. at 9).




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                     Defendant did not act or speak aggressively towards or threaten the officers.
             (Tr. at 22).
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                   The officer testified that the amount of Defendant’s shaking and his stuttering
             were more intense than he observes during a normal traffic stop. (Tr. at 25).

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                   When Defendant reached the rear of his vehicle, without a request from the

             officer, Defendant began to empty items from his pockets onto the trunk and then he

             removed his leather jacket and placed it on the trunk. (Tr. at 10, 29). On direct,

             Officer Williams testified as follows:

                   Q:     Did you ask him if you could search his person?

                   A.     I did.

                   Q:     What was his response?

                   A:     Yes.

             On cross-examination, the officer described this exchange with Defendant by adding

             that he also asked Defendant if he had anything illegal on his person. (Tr. at 29).

             Officer Williams testified that after Defendant placed his jacket on the trunk of the

             vehicle:

                   Q:     Is the next thing that happens at that point is that you ask him whether
                          you could search his person?

                   A:     Right, and I asked him does he have anything illegal on his person, as
                          well.

                   Q:     Did you ask him if you could search, or is - -

                   A:     No, No, I didn’t ask him if I could search, no. He emptied out the
                          contents of his pockets on his own, and after he did that, I asked him well
                          do you have anything illegal on you. He said no.

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                   Q:     Okay. And so then did you proceed to pat down his person?

                   A:     Yes.

             (Tr. at 29-30).

                   The jacket remained on the trunk within arm’s reach of Defendant during the

             pat down which produced nothing of interest. (Tr. at 10, 30, 38). At that point,

             Officer Williams “laid [his] hand on the jacket . . . and . . . [felt] the gun inside the

             jacket.”6 He did not manipulate the jacket in any manner but, based on his experience

             with firearms, felt the shape of the gun instantly. (Tr. at 11, 30-32). Officer Williams

             signaled that he found a firearm to Officer Kitchen and proceeded to attempt to

             handcuff Defendant for safety reasons. (Tr. at 11-12, 32-33). Instead, Defendant

             attempted to flee, and both officers - after a brief struggle with Defendant - subdued

             and handcuffed him. (Tr. at 11, 33). After Defendant was secured, the officers

             removed the firearm from the jacket. (Tr. at 34). When Defendant’s driver’s license

             was “run” (that is, a computer check of criminal records), the officers determined that

             Defendant was a convicted felon. (Tr. at 12-13).


                   6
                    The officer did not ask for permission to search Defendant’s jacket. (Tr. at 31).
             The officer testified that Defendant removing his jacket was a “red flag” and that he
             “touched the jacket simply because I was under the impression there might have been
             something illegal in the jacket.” (Tr. at 36-37).

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                     Additional facts will be set forth as necessary during discussion of Defendant’s

             motion to suppress the firearm and ammunition.

             II.     Discussion

                     The Government contends that the search of the jacket and the seizure of the

             firearm found therein was the result of a voluntary consent to search Defendant’s

             person and that the search of that jacket fell within the scope of Defendant’s consent.

             [Doc. 39]. In response, Defendant argues that the Government did not establish that

             he consented to a search of his person, only his vehicle, and that the search of his

             person and the jacket fell outside the scope of the vehicle consent search. [Doc. 40].

             The court finds that Defendant’s argument misconstrues Officer Williams’ testimony

             at the suppression hearing. [Id. at 4-5]. The court having heard the entire testimony

             of the officer and considering the context of the statement made by the officer relied

             on by Defendant7 to argue consent was not obtained finds that the officer did ask

             Defendant if he could search his person, that Defendant consented to the search of his

             person and that the search of the jacket fell within the scope of the consent search.




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                      “No, No, I didn’t ask him if I could search, No.” [Doc. 40 at 5 (quoting Tr. at
             29)].

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                   “It has been long recognized that police officers, possessing neither reasonable

             suspicion nor probable cause, may nonetheless search an individual without a warrant

             so long as they first obtain the voluntary consent of the individual in question.”

             United States v. Blake, 888 F.2d 795, 798 (11th Cir. 1989) (citing Schneckloth v.

             Bustamonte, 93 S. Ct. 2041 (1973)); accord United States v. DeJesus, 435 Fed. Appx.

             895, 901 (11th Cir. 2011) (same). “Whether a suspect voluntarily gave consent to a

             search is a question of fact to be determined by the totality of the circumstances.” Id.

             at 798 (citing Schneckloth, 93 S. Ct. at 2059); see also United States v. Nuyens, 17 F.

             Supp. 2d 1303, 1306 (M.D. Fla. 1998) (“Voluntariness of consent is a question of fact,

             and the Court must look to the totality of the circumstances.”). “The government

             bears the burden of proving both the existence of consent and that the consent was not

             a function of acquiescence to a claim of lawful authority but rather was given freely

             and voluntarily.” Blake, 888 F.2d at 798 (citing United States v. Massell, 823 F.2d

             1503, 1507 (11th Cir. 1987)); see also United States v. Purcell, 236 F.3d 1274, 1281

             (11th Cir. 2001) (“A consensual search is constitutional if it is voluntary; if it is the

             product of an ‘essentially free and unconstrained choice.’”) (citation omitted).

                   As the Eleventh Circuit Court of Appeals affirmed in United States v. Acosta,

             363 F.3d 1141 (11th Cir. 2004), “determining whether consent was ‘voluntary is not

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             susceptible to neat talismanic definitions; rather, the inquiry must be conducted on a

             case-by-case analysis.’” Id. at 1151 (quoting Blake, 888 F.2d at 798). In conducting

             this case-by-case analysis, factors considered by courts in assessing voluntariness

             include, but are not limited to: “voluntariness of the defendant’s custodial status, the

             presence of coercive police procedure, the extent and level of the defendant’s

             cooperation with police, the defendant’s awareness of his right to refuse to consent to

             the search, the defendant’s education and intelligence, and, significantly, the

             defendant’s belief that no incriminating evidence will be found.” Blake, 888 F.2d at

             798 (citations and internal quotation marks omitted); see also Purcell, 236 F.3d at

             1281 (same).

                   However, “the government need not establish [a defendant’s] knowledge of the

             right to refuse consent ‘as the sine qua non of an effective consent.’” United States

             v. Zapata, 180 F.3d 1237, 1241 (11th Cir. 1999) (quoting Ohio v. Robinette, 117 S. Ct.

             417, 421 (1996)); accord United States v. Brown, 223 Fed. Appx. 875, 880 (11th Cir.

             2007) (“the government is not required to prove that the defendant knew he had the

             right to refuse to consent, and a defendant’s lack of knowledge of this right is not

             dispositive, but is just one factor to consider in evaluating the totality of the

             circumstances”); United States v. Pineiro, 389 F.3d 1359, 1366 n.4 (11th Cir. 2005)

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             (“To the extent Pineiro suggests that the police were required to be more specific in

             advising him of his rights, and were required to tell him he had a right to refuse

             consent, this Court has squarely rejected this argument.”). And, contrasting the test

             for the waiver of “rights that protect a fair criminal trial and the rights guaranteed

             under the Fourth Amendment[,]” Schneckloth, 93 S. Ct. at 2055, the Supreme Court

             explained that, while a consent to search must be voluntary, it need not be “‘an

             intentional relinquishment or abandonment of a known right or privilege[,]’” that is,

             knowing and intelligent. Id. at 2055-56 (citation omitted); see also Tukes v. Dugger,

             911 F.2d 508, 516 (11th Cir. 1990) (same). “‘[T]he absence of intimidation, threats,

             abuse (physical or psychological), or other coercion is a circumstance weighing in

             favor of upholding what appears to be a voluntary consent.’” United States v. Alim,

             256 Fed. Appx. 236, 239 (11th Cir. 2007) (quoting United States v. Jones, 475 F.2d

             723, 730 (5th Cir. 1973)).

                   First, the court finds that Officer Williams did ask Defendant if he would

             consent to a search of his person. The evidence, as found by the court after viewing

             Officer Williams’ testimony,8 establishes the following events and exchange between

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                     “Credibility determinations are typically the province of the fact finder because
             the fact finder personally observes the testimony and is thus in a better position than
             a reviewing court to assess the credibility of witnesses.” United States v. Ramirez-

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             the officer and the Defendant. After Defendant denied having anything illegal in the

             car and offered to allow Officer Williams to search the vehicle, at the officer’s request,

             Defendant stepped out of and to the rear of his vehicle. (Tr. at 8-9, 27-28). Then,

             without being asked to do so, Defendant emptied his pockets and removed his jacket,

             lying everything on the trunk of the vehicle. (Tr. at 10, 29). At that point, the officer

             asked Defendant two questions. He asked Defendant if he had anything illegal on his

             person, and when Defendant responded, no, asked if he could search Defendant’s

             person. Defendant responded, yes. (Tr. at 10, 29-30).

                   The single statement by the officer that he did not ask Defendant for consent to

             search should not be taken out of the context of the officer’s entire testimony. Officer

             Williams affirmed not only on direct but on also on cross-examination that he asked

             Chilel, 289 F.3d 744, 749 (11th Cir. 2002). In weighing the credibility of a witness,
             the court takes “into account the interests of the witnesses, the consistencies or
             inconsistencies in their testimonies, and their demeanor on the stand.” Id. at 750; see
             also United States v. Wein, 2006 WL 2128155, at *3 (W.D. Pa. July 27, 2006) (noting
             that “customary techniques to ascertain the credibility of the witnesses” included, but
             was “not limited to: appearance and conduct of each witness, the manner in which he
             testified, the character of the testimony given, his intelligence, motive, state of mind,
             and demeanor while on the stand”). And, unless the evidence “‘is contrary to the laws
             of nature, or is so inconsistent or improbable on its face that no reasonable factfinder
             could accept it” or unless the factfinder’s determinations appear to be
             “‘unbelievable[,]’” a reviewing court should accept those findings of fact. Ramirez-
             Chilel, 289 F.3d at 749 (citations omitted); accord United States v. Griffith, 397 Fed.
             Appx. 613, 617-18 (11th Cir. 2010).

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             Defendant for consent to search his person. (Tr. at 10, 29). Any confusion is caused

             in part by the fact that the officer did not ask Defendant to remove the items from his

             person but that “[h]e emptied out the contents of his pockets on his own . . . .” (Tr. at

             29). This explanation as to how the items came to be on the trunk of the vehicle

             follows the statement that the officer did not ask Defendant if he could search which

             the court finds was an attempt to clarify the circumstance of Defendant emptying his

             pockets. (Tr. at 29). And after providing that explanation, the officer further clarifies

             that before asking Defendant if he could search is person, he asked Defendant if there

             was “anything illegal on [him] . . . .” (Tr. at 29). That is the end of the officer’s

             statement. (Tr. at 29-30). Simply because the officer, in response to the next question

             on cross-examination (“And so then did you proceed to pat down his person?”), did

             not add to his affirmative response (“Yes.”) that he asked for consent to search does

             not negate the earlier, repeated testimony that consent was asked for and received.

             (Tr. at 29-30). The court finds that the Government established that Defendant

             consented to a search of his person. See Blake, 888 F.2d at 798 (“The government

             bears the burden of proving . . . the existence of consent . . . .”).

                   Second, the court finds “that the consent was not a function of acquiescence to

             a claim of lawful authority but rather was given freely and voluntarily.”             Id.

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             Defendant, who was not in custody during the traffic stop, was cooperative throughout

             the interaction with the two officers, at least prior to the discovery of the firearm. He

             immediately pulled over in response to the blue lights (Tr. at 6, 19); he acknowledged

             knowing why the officers stopped him, that is, the vehicle’s headlights being out (Tr.

             at 7, 22); without being asked, he offered to allow a search of his vehicle (Tr. at 8-9,

             27); he exited and moved to the rear of his vehicle when asked (Tr. at 9, 28); and,

             without being asked, he removed items from his pockets and removed his jacket and

             placed those items, along with the jacket, on the trunk of the vehicle (Tr. at 10, 29).

             There is no indication in the testimony that the officers threatened Defendant or

             coerced him to obtain his consent to search his person. And, in addition to receiving

             Defendant’s verbal consent for the search, the court finds that by removing items from

             his person without being asked, Defendant appeared to be inviting the officer to pat

             down his person and belongings to check for contraband. Cf. United States v.

             Chrispin, 181 Fed. Appx. 935, 939 (11th Cir. 2006) (noting that the court had

             “previously found a search consensual where no verbal consent was given, but the

             defendant’s body language indicated his assent to the search.”) (citing Ramirez-Chilel,

             289 F.3d at 752).



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                   Officer Williams then conducted the pat down of Defendant’s person and found

             no contraband or weapons. (Tr. at 10-11, 30-31). At that point, without specifically

             seeking consent to search Defendant’s jacket lying within reach of Defendant on the

             trunk (Tr. at 10, 30-31, 38), Officer Williams “laid [his] hand on the jacket . . . and

             . . . [felt] the gun inside the jacket.” He did not manipulate the jacket in any manner

             but, based on his experience with firearms, felt the shape of the gun instantly. (Tr. at

             11, 30-32). Although not discussed by Defendant in the context of the consent to

             search his person, the next question for the court to answer is whether the pat down

             of the jacket fell within the scope of that consent.

                   With respect to the issue of exceeding the scope of a consent to search, in

             Zapata, 180 F.3d at 1242, the Eleventh Circuit Court of Appeals stated: “We have

             said that a search is impermissible when an officer does not conform to the limitations

             imposed by the person giving consent.” Accord DeJesus, 435 Fed. Appx. at 902 (“‘A

             consensual search is manifestly reasonable so long as it remains within the scope of

             the consent.’”) (citation omitted). And, “[w]hen an individual provides a general

             consent to search, without expressly limiting the terms of his consent, the search ‘is

             constrained by the bounds of reasonableness: what a police officer could reasonably

             interpret the consent to encompass.’” Zapata, 180 F.3d at 1242 (quoting United States

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             v. Strickland, 902 F.2d 937, 941 (11th Cir. 1990)); accord DeJesus, 435 Fed Appx. at

             902; United States v. Street, 472 F.3d 1298, 1308 (11th Cir. 2006). In this regard, in

             Florida v. Jimeno, 111 S. Ct. 1801 (1991), the Supreme Court stated, “The standard

             for measuring the scope of a suspect’s consent under the Fourth Amendment is that

             of ‘objective’ reasonableness–what would the typical reasonable person have

             understood by the exchange between the officer and the suspect?” Id. at 1803-04;

             accord Street, 472 F.3d at 1309. “To ascertain what conduct is within the ‘bounds of

             reasonableness,” [a court] must consider what the parties knew to be the object (or

             objects) of the search. . . . A general consent to search for specific items includes

             consent to search any compartment or container that might reasonably contain those

             items.” Zapata, 180 F.3d at 1243; see also Jimeno, 111 S. Ct. at 1804 (“The scope of

             a search is generally defined by its expressed object.”). The scope of the consent to

             search is “to be determined by the totality of the circumstances.” Blake, 888 F.2d at

             798.

                    Defendant did not restrict the consent search of his person which, based on the

             officer’s question preceding the consent to search, that is, whether Defendant had

             anything illegal on his person, would have been objectively understood to allow a



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             search for any type of contraband, including weapons.9 Additionally, in consenting

             to a search of one’s person, “a reasonable person would have understood the scope of

             consent to at least include the pockets of [the defendant’s] outer clothing.” United

             States v. Lisbon, 2014 WL 3672887, at *5 (D. Md. Ga. July 22, 2014) (citing United

             States v. Stinson, 468 Fed. Appx. 285, 288 (4th Cir. 2012) (“reasonable person would

             have understood that the scope of defendant’s consent to a search of his ‘person’

             included both a pat-down for weapons and a search of defendant’s pockets”)); and see

             United States v. Dinwiddie, 2008 WL 4922000, at *19 (E.D. Mo. January 29, 2008)

             (“a reasonable person, after consenting to a search, would have understood that the

             officers would search his pockets”). And Officer Williams, given the facts that

             Defendant had been wearing the jacket and removed the jacket and laid it on the trunk

             of his vehicle within arm’s reach - as he did with other items he removed from his

             person, would have reasonably understood that Defendant’s consent extended to that

             jacket. See Zapata, 180 F.3d at 1242 (consent to conduct a general “search ‘is

             constrained by the bounds of reasonableness: what a police officer could reasonably

             interpret the consent to encompass’”) (citation omitted). Placing all of the items from

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                    The officer testified that Defendant removing his jacket was a “red flag” and
             that he “touched the jacket simply because I was under the impression there might
             have been something illegal in the jacket.” (Tr. at 36-37).

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             his person, including the jacket, on the trunk, in plain and public view, was reasonably

             construed as an invitation to inspect those items as a part of the search of Defendant’s

             person. And Defendant did not object to the officer touching the jacket which further

             supports a finding that Defendant’s consent extended to the jacket. See United States

             v. Garcia, 284 Fed. Appx. 791, 795 (11th Cir. 2008) (the defendant did not place any

             limitations on his consent to search his vehicle and did not object when the officers

             began searching the engine); United States v. Harris, 928 F.2d 1113, 1117-18 (11th

             Cir. 1991) (the defendant “was physically present while [the officer] searched the car,

             and had ample opportunity to limit the scope of the search, or request that it be

             discontinued”); United States v. Degaule, 797 F. Supp. 2d 1332, 1376 (N.D. Ga. 2011)

             (“If [the defendant] intended the scope of his consent to be limited, he had ample

             opportunity to object or clarify, especially in light of the cordial, even friendly, tone

             of communications he had with the agents before and during the search.”). If

             Defendant intended to limit the scope of his consent to search his person to exclude

             the jacket by removing it and placing it on the trunk, he was required to verbalize that

             intent; his subjective intentions do not control. See Jimeno, 111 S. Ct. at 1803-04

             (applying an objective standard to determine the scope of a consent search); Zapata,

             180 F.3d at 1242 (requiring express limitations on a search).

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                    Finally, Officer Williams simply laid his hand on the jacket - he did not

             manipulate the jacket in any manner. (Tr. at 11, 31-32). He immediately determined

             that the shape he felt was a firearm. (Tr. at 11, 31). Once Defendant was secured, the

             officers lawfully seized that firearm from the jacket. (Tr. at 33-34). “The Supreme

             Court has made clear that ‘[i]f a police officer lawfully pats down a suspect’s outer

             clothing and feels an object whose contour or mass makes its identity immediately

             apparent, there has been no invasion of the suspect’s privacy beyond that already

             authorized by the officer’s search for weapons.’” Chrispin, 181 Fed. Appx. at 939

             (quoting Minnesota v. Dickerson, 113 S. Ct. 2130, 2137 (1993)) (applying the

             Supreme Court’s reasoning to the officer feeling an item that he thought was a weapon

             during the consent search of the defendant’s person and then retrieving the item).

                    Accordingly, the court finds that Defendant voluntarily consented to a search

             of his person and that the search of the jacket fell within the scope of the consent.

             III.   Conclusion

                    For the foregoing reasons and cited authority, the court RECOMMENDS that

             Defendant’s motion [Doc. 13] to suppress evidence, the firearm seized from his jacket,

             be DENIED and that in all other respects Defendant’s motion [Doc. 13] to suppress

             evidence and motion [Doc. 14] to suppress statements be DENIED as MOOT.

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                   There are no other pending matters before the Magistrate Judge, and the

             undersigned is aware of no problems relating to the scheduling of this case.

                   IT IS THEREFORE ORDERED and ADJUDGED that this action be and the

             same is hereby, declared Ready for Trial.

                   SO RECOMMENDED AND ORDERED this 1st day of December, 2015.




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